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                                        January 3, 2023

      Mr. David J. Smith, Clerk of Court
      U.S. Court of Appeals for the Eleventh Circuit
      56 Forsyth Street, N.W.
      Atlanta, GA 30303

      Re:      Eknes-Tucker v. Governor of the State of Alabama, No. 22-11707
               Rule 28(j) Supplemental Authority Letter

      Dear Mr. Smith:

           This Court’s decision in Adams v. School Board of St. John’s County, No. 18-
      13592 (11th Cir. Dec. 30, 2022) (en banc) (“Op.”), supports Appellants’ arguments.

             First, Adams confirms that Alabama’s law does not discriminate based on
      transgender status and that Bostock v. Clayton County, 140 S.Ct. 1731 (2020), is no
      help to Plaintiffs. See Op.30-31; Opening.Br.47-55.

             Second, Adams explains that “transgender status and gender identity are [not]
      equivalent to biological sex,” and that “biological sex” was the relevant characteris-
      tic to determine whether the plaintiffs were “similarly situated.” Op.18 n.6. This
      reasoning dooms Plaintiffs’ argument (at 55) that Alabama bans “certain treatments
      only for transgender minors,” because the comparison (e.g., testosterone to treat a
      boy’s testosterone deficiency versus to transition a girl) assumes that “transgender
      status and gender identity are equivalent to biological sex”—which they aren’t.
      Op.18 n.6.

              Third, Adams emphasized that “[t]he promise of equal protection is limited to
      keeping governmental decisionmakers from treating differently persons who are in
      all relevant respects alike.” Op.18 n.6 (cleaned up). The Court applied intermediate
      scrutiny because “biological sex [wa]s the relevant respect”: it was “the sole charac-
      teristic on which the bathroom policy” was “based.” Id. (cleaned up). Applying that
      rule here, Alabama’s law does not use sex as the dividing line: Neither males nor
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females may access transitioning treatments. That cross-sex hormones depend on
biological reality is no matter. Unlike with bathrooms, where either sex can use ei-
ther bathroom if allowed, only males can take estrogen (and females testosterone) to
transition, making the law subject only to rational-basis review. Dobbs v. Jackson
Women’s Health Org., 142 S.Ct. 2281, 2246 (2022). Alabama can thus regulate tran-
sitioning procedures without meeting intermediate scrutiny, just as it could (for in-
stance) regulate a damaging procedure that changes a patient’s racial appearance
without meeting strict scrutiny.

       Finally, if Alabama’s law is deemed to discriminate based on sex, it satisfies
intermediate scrutiny because, among other reasons, there are “sex-specific inter-
ests” that “justify a sex-specific policy.” Op.24. A girl given a boy’s level of testos-
terone faces “[k]nown risks” a boy would not, “includ[ing] loss of fertility and sexual
function.” DE112-1:3.

                                            Respectfully submitted,

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                                             s/ Edmund G. LaCour Jr.
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      I hereby certify that the foregoing was filed on January 3, 2023, using the

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                                           s/ Edmund G. LaCour Jr.
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